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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
                                    _____________

 UNITED STATES OF AMERICA,

                     Plaintiff,                              No. 1:22-cr-00222-CRC-1


 v.                                                          Hon. Christopher R. Cooper
                                                             United States District Judge

 RYAN KELLEY,

                     Defendant.


                        NOTICE REGARDING END OF CAMPAIGN

         The Court previously ordered that Mr. Ryan Kelley notify the Court when his campaign

 for Michigan Governor was completed so that his bond conditions regarding travel could be

 assessed. Defense Counsel now gives notice to the Court that Mr. Ryan Kelley’s campaign for

 Michigan Governor has ended. Mr. Kelley lost in the primaries, and requested a hand recount

 of the votes. Mr. Kelley has since notified Defense Counsel that his campaign for Michigan

 Governor ended. Defense Counsel would, however, note that Mr. Ryan Kelley is still actively

 involved in political issues throughout the state of Michigan, and is contemplating whether he

 will run for a different state or federal position.

                                                       Respectfully submitted,
Dated: 9/27/2022                                       /s/ Gary K. Springstead
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